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MINUTE ENTRY
MORGAN, J.
JANUARY 28, 2015

                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

KURIAN DAVID, et al                                   CIVIL ACTION
VERSUS                                                NO. 08-1220
SIGNAL INTERNATIONAL, LLC, et al                      SECTION "E" (3)


 EQUAL EMPLOYMENT OPPORTUNITY                          CIVIL ACTION
 COMMISSION

 VERSUS                                                NO. 12-557

 SIGNAL INTERNATIONAL, LLC, et al                      SECTION "E"


 LAKSHMANN PONNAYAN ACHARI, et al                      CIVIL ACTION

 VERSUS                                                NO. 13-6218
                                                       (c/w 13-6219, 13-6220,
                                                        13-6221, 14-732, 14-1818)

 SIGNAL INTERNATIONAL, LLC, et al                      SECTION "E"



 Applies To:
 David v. Signal
 (No. 08-1220)

                                    JURY TRIAL

                       JUDGE SUSIE MORGAN, PRESIDING


WEDNESDAY, JANUARY 28, 2015 AT 8:30 A.M.

COURTROOM DEPUTY:       Cesyle Nelson
COURT REPORTER:         Susan Zielie, morning session
                        Mary Thompson, afternoon session

APPEARANCES:            Alan B. Howard, Daniel Werner, Naomi Tsu, Hugh Sandler, Melia
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                               Amal Bouhabib for Sony Vasudevan Salekha, Palanyandi
                               Thangamani, Hemant Khuttan, Padaveettiyil Issac Andrews, and
                               Jacob Joseph Kaddakkarappally (hereinafter referred to as
                               "plaintiffs");

                               Erin C. Hangartner, Hal D. Ungar, Elham Rabbani, Brian C. Roux,
                               Lance R. Rydberg, Lauren M. Davis, and Patricia A. Bollman for
                               Signal International LLC, Signal International, Inc., Signal
                               International Texas GP, LLC, and Signal International Texas, L.P.
                               (hereinafter referred to as "Signal");

                               Timothy W. Cerniglia for Malvern C. Burnett, Law Offices of Malvern
                               C. Burnett, A.P.C., and Gulf Coast Immigration Law Center, L.L.C.
                               (hereinafter referred to as "Burnett");

                               Stephen H. Shapiro, for Sachin Dewan, and Dewan Consultants, Pvt.,
                               Ltd. (hereinafter referred to as "Dewan")


JURY TRIAL

Continued from January 27, 2015.

With respect to the objections to exhibits 2143 (page 4); 2061; and 1544, the Court ruled that if
Signal can authenticate these exhibits through the testimony of Hemant Khuttan, they may be
published to the jury.

       Witnesses called by Signal and placed under oath:
       Video deposition of Mr. Sanders continued;

       Last witness called by the plaintiffs and placed under oath:
       Hemant Khuttan.

Court recessed at 11:50 a.m. and resumed at 12:50 p.m.

After argument, the court overruled the objection to exhibit 1972 and sustained the objections to
exhibits 1930 and 1953.

The Court was informed that Erin C. Hangartner, Signa's lead trial counsel, was transported to the
emergency room earlier this morning. Status reports on her condition will be relayed to the Court
as received.

       Testimony of Mr. Hemant continued.

The witness was unable to authenticate exhibits 2143 (page 4) or 1544 as depicted.

Plaintiffs rested and reserved their right to move for a judgment as a matter of law at the conclusion
of all testimony.
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The Court was updated on the medical condition of Ms. Hangartner.

       Witnesses called by Signal and placed under oath:
       Wilbur A. Shouse, Jr.

Plaintiffs moved for reconsideration for the admissibility of exhibit 1953. Court denied motion.

       David Cochran;
       Patrick Killeen.

Court recessed at 5:30 p.m. until January 29, 2015 at 8:30 a.m.




 JS-10:8:00
